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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )          Case No. 4:01CR3122
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )          JUDGMENT
                                          )
JUAN FRANCISCO OTERO-                     )
FIGUEROA, also known as Chuco,            )
                                          )
                   Defendant.             )

      Pursuant to the memorandum and order entered this date,

      IT IS ORDERED that judgment is entered for the United States of America,
and against the defendant, Juan Francisco Otero-Figueroa, providing that he shall take
nothing, and his motion to vacate conviction (filing 229) is denied with prejudice.

      June 16, 2005.                          BY THE COURT:

                                              s/Richard G. Kopf
                                              United States District Judge
